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                           CERTIFIED POLICY
This certification is affixed to a policy which is a true and accurate copy of
the document in the company’s business records as of the date shown
below.

No additional insurance is afforded by this copy.


Northfield Insurance Company
____________________________________________________
Name of Insuring Company(ies)


WS280071                     01/24/2020 - 01/24/2021            05/13/2022
__________________           ______________________             __________
Policy Number(s)             Policy Period(s)                   Date
  Case 2:22-cv-02283-MSN-atc Document 6-1 Filed 05/13/22 Page 2 of 51                       PageID 33


                                                                             COMMON POLICY
                                                                              DECLARATIONS




POLICY PERIOD:          From                       To                         Term:
                        at 12:01 A.M. at your mailing address shown below.
Named Insured:



Mailing Address:


BUSINESS DESCRIPTION:

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY,
WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.


COVERAGE PART DESCRIPTION                                                         PREMIUM


                                                PREMIUM TOTAL




                                                POLICY TOTAL




FORMS AND ENDORSEMENTS
Case 2:22-cv-02283-MSN-atc Document 6-1 Filed 05/13/22 Page 3 of 51   PageID 34


      Northfield Insurance Company




                      COMMERCIAL INSURANCE
                            POLICY




In Witness Whereof,
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                                NOTICES
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SCHEDULE OF FORMS AND ENDORSEMENTS
Effective Date:                                                                  Policy No:
Named Insured:




The following schedule of coverage declarations, forms and endorsements make up your policy as of the effective
date shown above.
COMMON POLICY DECLARATIONS - S1D-IL (9/05)




COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS - S9D-CP (9/05)
Case 2:22-cv-02283-MSN-atc Document 6-1 Filed 05/13/22 Page 6 of 51   PageID 37




          IMPORTANT NOTICE REGARDING COMPENSATION DISCLOSURE
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                                                                                IL 00 17 11 98

                          COMMON POLICY CONDITIONS


 A. Cancellation                                   b.

    1.                                             c.

                                              2.

    2.




         a.



         b.
                                                   a.

    3.                                             b.



    4.                                        3.            1.    2.




    5.

                                              4.           2.




    6.

                                            E. Premiums
 B. Changes



                                              1.

                                              2.

                                            F. Transfer Of Your Rights And Duties Under This
                                               Policy

 C. Examination Of Your Books And Records




 D. Inspections And Surveys

    1.

         a.




 IL 00 17 11 98                                                               Page 1 of 1
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                               SERVICE OF SUIT
     Case 2:22-cv-02283-MSN-atc Document 6-1 Filed 05/13/22 Page 9 of 51   PageID 40

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                 CAP ON LOSSES FROM CERTIFIED ACTS OF
                             TERRORISM




                                             1.




                                             2.




IL T4 14 01 15                                                                Page 1 of 1
Case 2:22-cv-02283-MSN-atc Document 6-1 Filed 05/13/22 Page 10 of 51   PageID 41



       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    AMENDMENT - MINIMUM EARNED PREMIUM

                 EFFECTIVE




Minimum Earned Premium




(1)

(2)

(3)
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           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                 AMENDMENT OF COMMON POLICY CONDITIONS -
               PROHIBITED COVERAGE - UNLICENSED INSURANCE AND
                        TRADE OR ECONOMIC SANCTIONS




 Prohibited Coverage - Unlicensed Insurance

 1.




 2.

      a.



      b.



 Prohibited Coverage - Trade Or Economic Sanctions




 1.

 2.
Case 2:22-cv-02283-MSN-atc Document 6-1 Filed 05/13/22 Page 12 of 51   PageID 43



       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA




 A.                        B.




 B.



 C.                                                B.



 D.                             B.
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                                                                            IL 02 50 09 08

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         TENNESSEE CHANGES - CANCELLATION
                                 AND NONRENEWAL




 A.                 5.      Cancellation           2.



      5.                                           3.



                                                        a.

           a.
                                                        b.
           b.
                                                   4.



                                                   5.




                                                   6.

 B.                                Cancellation



      CANCELLATION OF POLICIES IN EFFECT FOR 60    7.
      DAYS OR MORE

                                                   8.




      1.




 IL 02 50 09 08                                                              Page 1 of 2
      Case 2:22-cv-02283-MSN-atc Document 6-1 Filed 05/13/22 Page 14 of 51   PageID 45

C.                                             D.                        Premiums



     NONRENEWAL

     1.




          a.

          b.




     2.




Page 2 of 2                                                                    IL 02 50 09 08
Case 2:22-cv-02283-MSN-atc Document 6-1 Filed 05/13/22 Page 15 of 51                PageID 46



                                                                                    IL 09 35 07 02


                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


       EXCLUSION OF CERTAIN COMPUTER-RELATED LOSSES




 A.                                                  2.




                                                                    A.1.
      1.
                                                B.
           a.                                                  A.

                                                     1.
                (1)



                (2)
                                                     2.
                (3)
                                                          a.

                (4)

                (5)
                                                          b.

                (6)



           b.



                      A.1.a.                    C.
                                                                           A.1.a.     A.1.b.




 IL 09 35 07 02                                                                        Page 1 of 1
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                                                 COMMERCIAL PROPERTY
                                              COVERAGE PART DECLARATIONS



Effective Date:                                             Policy No:

Named Insured:



DESCRIPTION OF PREMISES




COVERAGES PROVIDED




COVERAGE OPTIONS                                              *




                                  DEDUCTIBLE $
                                  COVERAGE PART PREMIUM $




MORTGAGE HOLDERS


FORMS AND ENDORSEMENTS
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                                                                   COMMERCIAL PROPERTY
                                                                           CP 00 10 10 12


                          BUILDING AND PERSONAL PROPERTY
                                  COVERAGE FORM




                                                                      H.


 A. Coverage                                           (b)




                                              b. Your Business Personal Property
    1. Covered Property




                  A.1.,         A.2.,



                                                 (1)
       a. Building,
                                                 (2)

          (1)                                    (3)

          (2)                                    (4)

          (3)
                                                 (5)
                (a)

                (b)
                                                 (6)
          (4)




                (a)                                    (a)

                (b)
                                                       (b)
                (c)

                (d)                              (7)




          (5)
                                              c. Personal Property Of Others
                (a)
                                                 (1)




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            (2)                               I.

                                              m.

                                              n.




    2. Property Not Covered




       a.




       b.

                                                                            n.,

       c.

       d.



       e.                                     o.



       f.



       g.



            (1)

            (2)
                                              p.

       h.
                                                   (1)

                                                   (2)
       i.

       j.

       k.                                                (a)




                                                         (b)




 Page 2 of 15                                                          CP 00 10 10 12
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                  (c)                                   (e)



                  (d)                                   (f)



                                                        (g)
       q.

                                                  (3)                            (4),
            (1)

            (2)                                         (a)




                                                        (b)   (a)
    3. Covered Causes Of Loss




    4. Additional Coverages

       a. Debris Removal

            (1)                 (2), (3)   (4),




                                                  (4)




            (2)                                         (a)

                  (a)




                  (b)                                   (b)




                  (c)                                         (4)(a)   (4)(b)




                  (d)




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          (5) Examples                        b. Preservation Of Property




 Example 1



                                                 (1)



                                                 (2)



                                              c. Fire Department Service Charge




                                  (3).

 Example 2



                                                 (1)



                                                 (2)




                                              d. Pollutant Clean-Up And Removal




                           (3)




             (4),




                    (4).




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       e. Increased Cost Of Construction           (6)

          (1)




          (2)




                                  e.(3)    e.(9)



          (3)                              e.(2)

                                                   (7)

                                                         (a)



          (4)                                                  (i)




                (a)                                            (ii)




                (b)

          (5)
                                                         (b)

                (a)



                                                               e.(6)




                                                         (c)



                (b)                                                     e.(6)




                                                   (8)




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            (9)                                        (d)




                              e.(6)




       f.   Electronic Data

            (1)




                                                 (4)




            (2)




            (3)

                                            5. Coverage Extensions



                  (a)




                  (b)



                                              a. Newly Acquired Or Constructed Property

                  (c)                            (1) Buildings




                                                       (a)



                                                       (b)




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                   (i)                          b. Personal Effects And Property Of Others



                   (ii)

                                                   (1)




          (2) Your Business Personal Property

             (a)                                   (2)




                   (i)




                   (ii)                         c. Valuable Papers And Records (Other Than
                                                   Electronic Data)

                                                   (1)




             (b)

                   (i)

                                                   (2)



                   (ii)



                                                   (3)

          (3) Period Of Coverage

                                                   (4)




             (a)

             (b)




             (c)




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       d. Property Off-Premises               f.   Non-Owned Detached Trailers

          (1)                                      (1)




                (a)                                      (a)

                                                         (b)
                (b)



                                                         (c)

                (c)
                                                   (2)
          (2)

                (a)                                      (a)

                (b)



                                                         (b)

          (3)



       e. Outdoor Property
                                                   (3)




                                                   (4)




                                              g. Business Personal Property Temporarily In
                                                 Portable Storage Units
          (1)
                                                   (1)
          (2)

          (3)

          (4)

          (5)



                                                   (2)




                                                   (3)

                                                         (a)




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                (b)                       D. Deductible




          (4)




                                          Example 1


          (5)




 B. Exclusions And Limitations




 C. Limits Of Insurance




                                          Example 2




    1.

    2.

    3.

    4.




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 E. Loss Conditions                                   (5)




                                                      (6)
    1. Abandonment




    2. Appraisal




                                                      (7)




                                                      (8)



                                                 b.

       a.

       b.




                                               4. Loss Payment

    3. Duties In The Event Of Loss Or Damage     a.

       a.
                                                      (1)

            (1)                                       (2)
                                                                         b.

            (2)                                       (3)



                                                      (4)
            (3)
                                                                 b.



            (4)




                                                 b.




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       c.                                   6. Vacancy

                                              a. Description Of Terms
       d.
                                                    (1)

       e.                                                                    (1)(a)       (1)(b)



                                                          (a)




       f.




       g.
                                                          (b)




            (1)

                                                                (i)
            (2)

       h.

                                                                (ii)



                                                    (2)



                                              b. Vacancy Provisions




                                                    (1)




                                                          (a)

                                                          (b)



    5. Recovered Property                                 (c)

                                                          (d)

                                                          (e)

                                                          (f)

                                              (2)
                                                                       b.(1)(a)         b.(1)(f)




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    7. Valuation                                           (3)


                                                F. Additional Conditions

       a.
                            b., c., d.,   e.



       b.                                          1. Coinsurance




                                                      a.




                                                           (1)

            (1)
                                                           (2)
            (2)                                                                       (1);

                                                           (3
            (3)
                                                                             (2);
       c.
                                                           (4)
                                                                             (3).

       d.                                                                                      (4)



       e.

            (1)                                 Example 1 (Underinsurance)



            (2)




                  (a)

                                                    (1):

                  (b)                     (a)

                                                    (2):

                                                    (3):

                                                    (4):




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 Example 2 (Adequate Insurance)             2. Mortgageholders

                                              a.

                                              b.




                                              c.




                                              d.



       b.


                                                   (1)
 Example 3


                                                   (2)




                                                   (3)




                                              e.




                                                   (1)

     (1):

                                                   (2)



     (2):

     (3):

     (4):




                                              f.



                                                   (1)




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            (2)                           Example




       g.




 G. Optional Coverages

                                            3. Replacement Cost

                                               a.

    1. Agreed Value

       a.
                                               b.

                                                    (1)

                                                    (2)

                                                    (3)
       b.




                                                    (4)
       c.



            (1)



            (2)
                                               c.



    2. Inflation Guard

       a.




       b.                                      d.

            (1)
                                                    (1)



                                                    (2)

            (2)




            (3)
                                                    (3)           d.(1)   d.(2)




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            (4)                                              b.




       e.
                                          (1), (2)
              (3),      f.

            (1)



            (2)

                                                     H. Definitions
                  (a)
                                                        1.
                  (b)

            (3)

                                                        2.



                             e.(2)


                                                        3.

       f.




    4. Extension Of Replacement Cost To Personal
       Property Of Others

       a.




                                          3.b.(1)




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                                                                               CP 00 90 07 88

                   COMMERCIAL PROPERTY CONDITIONS


  A. CONCEALMENT,     MISREPRESENTATION   OR   G. OTHER INSURANCE
     FRAUD
                                                    1.




     1.
                                                    2.
     2.                                                                               1.

     3.

     4.

  B. CONTROL OF PROPERTY
                                               H. POLICY PERIOD, COVERAGE TERRITORY



                                                    1.

                                                         a.


                                                         b.

                                                    2.
  C. INSURANCE UNDER TWO OR MORE COVERAGES
                                                         a.


                                                         b.

  D. LEGAL ACTION AGAINST US                             c.

                                               I.   TRANSFER OF RIGHTS OF RECOVERY AGAINST
                                                    OTHERS TO US

     1.


     2.




  E. LIBERALIZATION
                                                    1.


                                                    2.



                                                         a.
  F. NO BENEFIT TO BAILEE
                                                         b.

                                                              (1)

                                                              (2)

                                                         c.



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                                                                   COMMERCIAL PROPERTY
                                                                           CP 10 20 10 12


                       CAUSES OF LOSS - BROAD FORM
                                                                  F.


 A. Covered Causes Of Loss                  7.

                                                 a.


    1.                                           b.
    2.

    3.                                      8.




         a.
                                            9.

         b.




    4.

         a.
                                                 a.
         b.


                                                      (1)
         c.
                                                      (2)

                                                 b.




         d.
                                                      (1)

    5.
                                                            (a)

                                                            (b)

                                                            (c)
    6.


                                                            (d)

                                                      (2)



                                                            (a)



                                                            (b)




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    10.                                                                (b)




                                                                       (c)

          a.
                                                                 (2)
          b.

                                                                 (3)
    11.




          a.
                                                                 (4)

          b.
                                                                       (a)
          c.


                                                                       (b)
                           11.a.,   11.b.   11.c.,


                                                            b.                    a.




    12.Falling Objects



          a.                                         B. Exclusions

          b.                                           1.




    13.Weight Of Snow, Ice Or Sleet
                                                            a. Ordinance Or Law




                                                                 (1)
    14.Water Damage

          a.                                                     (2)




                                                                       (a)


               (1)

                     (a)




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                (b)




                                              e. Utility Services



       b. Earth Movement

          (1)
                                                   (1)



          (2)                                      (2)



          (3)




          (4)




                                      b.(1)
                      (4)




          (5)


                                              f.   War And Military Action

                                                   (1)

                                                   (2)

                                (1)    (5),




       c. Governmental Action
                                                   (3)




                                              g. Water

                                                   (1)




       d. Nuclear Hazard

                                                   (2)




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           (3)                                                   2.



                                                                      a.
           (4)



                 (a)                                                       (1)


                 (b)                                                       (2)

                 (c)

           (5)

                                (1), (3)    (4),
                                                                                 (a)

                                                                                 (b)

                                                    (1)   (5),
                                                                                 (c)

                                                                                 (d)




                                                                      b.
                                                          (1)
                       (5)




       h. "Fungus", Wet Rot, Dry Rot And Bacteria

                                                                      c.




                                                                      d.
           (1)


           (2)                                                   3. Special Exclusions




                                                                      a. Business Income (And Extra Expense)
                       B.1.a.              B.1.h.                        Coverage Form, Business Income (Without
                                                                         Extra Expense) Coverage Form, Or Extra
                                                                         Expense Coverage Form



                                                                           (1)
                                                                                 (a)



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                (b)                                  c. Legal Liability Coverage Form

                                                        (1)



                                                              (a)           B.1.a.
          (2)
                                                              (b)           B.1.c.

                                                              (c)           B.1.d.

                                                              (d)           B.1.e.
          (3)
                                                              (e)           B.1.f.

                                                        (2)
                (a)


                                                              (a) Contractual Liability



                (b)




                                                                    (i)



                                                                    (ii)

          (4)
                                                              (b) Nuclear Hazard



          (5)

       b. Leasehold Interest Coverage Form

          (1)         B.1.a.,                C. Additional Coverage - Collapse



          (2)                                                                  C.1.       C.7.

                (a)                             1.

                (b)



                (c)




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    2.                                                        c.




                                                         4.

         a.                                                   a.




                                                              b.

                                                              c.

                                                              d.

                                                              e.

                                                              f.

                                                              g.

                                                              h.

                                                              i.
         b.

                                                                         2.b.     2.f.

         c.
                                                                   (1)



         d.
                                                                   (2)
         e.

         f.                                              5.
                                                                                   not




                                                              a.
                         2.a.       2.e.,                                                2.a.        2.f.



                                                              b.



                                                              c.
                                                                            4.,
                                            2.a.

    3.         Additional Coverage - Collapse      not
                                                                                                5.

         a.



         b.                                              6.




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  7.                                               3.                               D.2.




  8.

             C.1.      C.7.

D. Additional Coverage - Limited Coverage    For
   "Fungus", Wet Rot, Dry Rot And Bacteria

  1.                          D.2.    D.6.



                                                   4.




       a.



       b.




  2.



                                                   5.
       a.
                                                        b.                     9.
                                                                b.                                 14.



       b.
                                                   6.           6.a.   6.b.,




       c.



                                                        a.




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       b.                                 E. Limitation




                                          F.   Definitions




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                           ENDORSEMENT - VACANCY RESTRICTION AND
                                FUNGUS EXCLUSION CHANGES




 A.      Building and Personal Property Coverage Form             Condominium Commercial Unit-Owners Coverage
      Form

      1.               6.b. Vacancy Provisions   Building and Personal Property Coverage Form
           7.b.        Condominium Commercial Unit-Owners Coverage Form            E. Loss Conditions




           a.

           b.




      2.                                     E. Loss Conditions

           Increase In Hazard




 B.        Causes Of Loss - Basic Form Causes Of Loss - Broad Form and Causes Of Loss - Special Form



      1.               B.1.h. "Fungus", Wet Rot, Dry Rot, And Bacteria

           h.     "Fungus", Wet Rot, Dry Rot, And Bacteria




      2.   Additional Coverage - Limited Coverage for "Fungus", Wet Rot, Dry Rot, And Bacteria

 C.                                           COMMON POLICY CONDITIONS

      Premiums - Fully Earned:
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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                      FEDERAL TERRORISM RISK
                    INSURANCE ACT DISCLOSURE




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  Designated Cities are:




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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                 MULTIPLE DEDUCTIBLE FORM
                                   (FIXED DOLLAR DEDUCTIBLES)


                   EFFECTIVE




     (1)
     (2)                       except
     (3)                       except
     (4)                       except
     (5)
     (6)
     (7)
     (8)




A.




B.



C.




                                                SCHEDULE




     Prem.        Bldg.                                Covered Causes
                                   Deductible
     No.          No.                                    of Loss **
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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    WINDSTORM OR HAIL FIXED DOLLAR DEDUCTIBLE

               EFFECTIVE




                                    SCHEDULE

Premises No.   Building No.     Windstorm or Hail Deductible
                                   Fixed Dollar Deductible
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WINDSTORM OR HAIL DEDUCTIBLE CLAUSE

A.   All Policies

     1.



          a.

          b.
                                                             EXAMPLES - APPLICATION OF DEDUCTIBLE
                                                             Example #1 - Specific Insurance
          c.




     2.




                                                             Building



B.   Calculation Of The Deductible - Specific Insurance
                                                             Business Personal Property




C. Calculation Of The Deductible - Blanket Insurance
                                                             Example #2 - Blanket Insurance




D. Calculation Of The Deductible - Property Covered          Building #1
   Under The Newly Acquired or Constructed
   Property Additional Coverage

                                                             Building #2
           Newly    Acquired   or   Constructed   Property
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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



  AMENDATORY PROVISIONS - DUTIES IN THE EVENT OF LOSS OR DAMAGE




                    Duties In The Event Of Loss Or Damage       a. (2)
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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                 LIMITATIONS ON COVERAGE FOR ROOF SURFACING

                   EFFECTIVE




                                             SCHEDULE


     Premises Number           Building Number                   Indicate Applicability
                                                           (Paragraph A. and/or Paragraph B.)




A.                                                Covered Cause of Loss (including wind and hail if
     covered)                                                                       A.




B.                                               wind and/or hail
                                        B.




C.
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                                                             COMMERCIAL PROPERTY
                                                                     CP 02 99 06 07

           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                         CANCELLATION CHANGES




                          Cancellation     C.

                                                1.

                                                2.

                                                3.

                                           D.
 A.



      1.
                                           E.
      2.
                                                1.

      3.

                                                2.




 B.



      1.

      2.




 CP 02 99 06 07
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                                                                            COMMERCIAL PROPERTY
                                                                                    CP 12 70 09 96

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                             JOINT OR DISPUTED LOSS AGREEMENT




  A.                                                            (2)



       1.
                                                                      (a)

       2.
                                                                      (b)



       3.
                                                                (3)



                                                                      (a)
  B.

       1.                                                             (b)



       2.                                             3.



                                                 D.                                    C.
  C.



       1.
                                                      1.




       2.                                             2.



            a.



                                                      3.
            b.                                                                               1.
                                                           2.
                 (1)



                                                      4.
                       (a)



                       (b)



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     5.                                        3.




     6.




  E. Arbitration
                                            F. Final Settlement Between Insurers
     1.                            C.2.a.




     2.
          C.2.b.




  CP 12 70 09 96                                                                    Page 2 of 2
